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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
In re:                                                         :    Chapter 11
                                                               :
J & M SALES INC. et al.,                                       :    Case No. 18-11801 (___)
                                                               :
                                                               :
                  Debtors                                      :
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                 NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

                 PLEASE TAKE NOTICE that BRIXMOR PROPERTY GROUP, INC. by its

attorneys, BALLARD SPAHR LLP, appears in this matter pursuant to Bankruptcy Rules 2002

and 9010 and Sections 102(1), 342 and 1109(b) of the Bankruptcy Code and requests that all

notices given or required to be given in this case and all papers served or required to be served in

this case, be given to and served upon the following:

                                           BALLARD SPAHR LLP
                                     51st Floor - Mellon Bank Center
                                            1735 Market Street
                                    Philadelphia, Pennsylvania 19103
                                        Telephone: (215) 864-8325
                                      DID Facsimile: (215) 864-9473
                                    email: pollack@ballardspahr.com
                                     Attn: David L. Pollack, Esquire

                                                       and

                                           BALLARD SPAHR LLP
                                       919 Market Street, 11th Floor
                                          Wilmington, DE 19801
                                              (302) 252-4465
                                            Fax: (302) 252-4466
                                       attn: Leslie Heilman, Esquire
                                         Laurel D. Roglen, Esquire
                                       Chantelle McClamb, Esquire




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               PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Rules specified above, but also includes, without limitation, orders and notices of any

application, motions, petitions, pleadings, requests, complaints, demands, disclosure statements,

plans of reorganization, and answering or reply papers whether transmitted or conveyed by mail,

delivery, telephone, telegraph, telex, telecopier or otherwise.

               PLEASE TAKE FURTHER NOTICE that neither this notice nor any later

appearance, pleading, claim, or suit shall waive any right (1) to have final orders in non-core

matters entered only after de novo review by a District Judge, (2) to trial by jury in any

proceeding so triable in this case or any case, controversy, or proceeding related to this case, (3)

to have the District Court withdraw the reference in any matter subject to recoupments to which

the landlord is or may be entitled under agreements, in law or in equity, all of which rights,

claims, actions, defenses, setoffs and recoupments are expressly reserved.

Dated: August 6, 2018

                                    BALLARD SPAHR LLP



                      BY:___________/s/ David L. Pollack______________
                                    DAVID L. POLLACK
                                 51st Fl - Mellon Bank Center
                                       1735 Market Street
                               Philadelphia, Pennsylvania 19103
                                   Telephone: (215) 864-8325
                                   Facsimile: (215) 864-9473
                           Attorneys for Brixmor Property Group, Inc,




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